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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

 UNITED STATES OF AMERICA                      )
                                               )       Crim. No. 2:21-cr-36-JDL
       v.                                      )
                                               )
 ADBIKAREEM HASSAN                             )

                                  PROSECUTION VERSION

        If this case were to proceed to trial, the United States would prove the following facts

 beyond a reasonable doubt with respect to Count Two of the Indictment:

        On July 5, 2020, Defendant possessed a Taurus model PT709 SLIM, 9mm pistol,

 assigned serial number TJW49517 (“the firearm”).       During night hours of July 5, 2020,

 Defendant abandoned the firearm near the intersection of Newbury Street and Pearl Street in

 Portland, Maine. Law enforcement officers recovered the firearm during the course of an

 ensuing investigation.   DNA recovered from the firearm matched a known sample of

 Defendant’s DNA.

        At the time of Defendant’s possession of the firearm on July 5, 2020, he knew he had

 previously been convicted of a crime punishable by imprisonment for a term exceeding one year,

 namely, operating under the influence of alcohol (with two prior convictions), in the Superior

 Court of the State of Maine, Cumberland County, docket number CUMCD-CR-2017-06643,

 judgment having entered on about June 8, 2018.

       The firearm was manufactured outside the State of Mane and thus traveled in interstate

commerce prior to July 5, 2020.




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    Date: July 23, 2021



                                         Respectfully submitted,

                                         Donald E. Clark
                                         Acting United States Attorney

                                         /s/David B. Joyce
                                         Assistant U.S. Attorney




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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

                               CERTIFICATE OF SERVICE

       I hereby certify that on July 23, 2021, I filed the foregoing Prosecution Version using
the Court’s CM/ECF system, which will cause a copy to be sent to all counsel of record.

                                                   Donald E. Clark
                                                   Acting United States Attorney

                                                   /s/David B. Joyce
                                                   Assistant U.S. Attorney




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